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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                   Civil Division



CONNIE MEGGS, Et al.


      Plaintiffs
                                              Civil Action No. 1:22-cv-00005


v.
SELECT COMMITTEE TO
INVESTIGATE THE JANUARY 6TH
ATTACK ON THE UNITED STATES
CAPITOL, 1540A Longworth House
Office Building, Washington, DC
20515, Et al.


      Defendants.



                             JOINT STATUS REPORT

      COMES NOW Plaintiffs, Connie Meggs and her husband, Kelly Meggs, by and

through undersigned counsel, and jointly file this Status Report with the Defendants,

by and through undersigned counsel, for the Honorable Nancy Pelosi, the Honorable

Bennie G. Thompson, the Honorable Elizabeth L. Cheney, the Honorable Adam B.

Schiff, the Honorable Jamie B. Raskin, the Honorable Susan E. Lofgren, the

Honorable Elaine G. Luria, the Honorable Peter R. Aguilar, the Honorable Stephanie

Murphy, the Honorable Adam D. Kinzinger, and the Select Committee to Investigate

the January 6th Attack on the United States Capitol Defendants, [hereinafter the

“Congressional Defendants” or the “Select Committee”].
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1. At the crux of the relief sought by Plaintiffs, is a Subpoena Duces Tecum issued

  by the Select Committee, under the Authority of the House of Representatives of

  the Congress of the United States of America, and signed by Chairman Bennie

  Thompson dated December 15, 2021.

2. Most recently, on December 12, 2022, Plaintiffs were informed by counsel for the

  Select Committee that the Select Committee will be withdrawing the subject

  subpoena issued by the Committee regarding the Meggs.

3. The Select Committee also advised that they plan to notify the carrier, Verizon,

  of the withdrawal via letter shortly.

4. Upon receipt of the withdrawal letter to Verizon, Plaintiffs plan to file a Rule 41

  Stipulation of Dismissal as to the defendants, Verizon and the Select Committee.




                                 [signature next page]


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                         Respectfully,




                                 /s/ Juli Z. Haller
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                          Counsel for Connie and Kelly Meggs


                          And

                               /s/ Douglas N. Letter
                          DOUGLAS N. LETTER
                           General Counsel
                          TODD B. TATELMAN
                           Principal Deputy General Counsel
                          ERIC R. COLUMBUS
                           Special Litigation Counsel



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                          Counsel for Congressional Defendants




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CONNIE MEGGS, Et al.


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      Defendants.




                         Certificate of Electronic Service


      I hereby certify that on December 13, 2022, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF System, with consequent service on all

parties of record.




                                /s/ Juli Z. Haller
                                Juli Z. Haller, DC 466921




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